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             IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF COLUMBIA
                               )
                               )
                               )
UNITED STATES OF AMERICA,      )
                               )
                               )
                               )     Case No. 21-CR-0040-TNM
V.                             )
                               )
                               )
CHRISTOPHER QUAGLIN,           )
                               )
          Defendant.           )



                        MOTION FOR EXTENSION OF TIME


         COMES NOW, Defendant, Christopher Quaglin, by and through counsel, and

 hereby moves the Court to grant his Motion for Extension of Time to File Sentencing

 Memorandum, and in support of his motion states:

   1.   Defendant’s attorney has been entered on this case for less than three weeks and

        this case has been ongoing for more than three years. Defendant’s attorney needs

        more time to review discovery and draft the sentencing memorandum.

   2. Defendant requests an extension to Friday, May 17, 2024.

        WHEREFORE, Defendant prays for this Court to grant his motion for an

extension of time to file.



                                             Respectfully Submitted,



                                             /s/ Kristi S. Fulnecky

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                                               Kristi S. Fulnecky, MO Bar # 59677

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                                              ATTORNEY FOR DEFENDANT




                              CERTIFICATE OF SERVICE

       The undersigned certifies that a copy of the foregoing was electronically filed

with the Pacer System on May 9, 2024, using the Federal E-file System and a copy was

made available to all electronic filing participants.



                                                         /s/ Kristi S. Fulnecky
                                                         Kristi S Fulnecky
                                                         Attorney for Defendant




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